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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
             v.                               :    Criminal Case No. 21-582 (CRC)
                                              :
MICHAEL A. SUSSMANN,                          :
                                              :
                       Defendant.             :


                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                       MOTION TO DISMISS THE INDICTMENT

               The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully submits this opposition to the defendant’s Motion to Dismiss the Indictment

for Failure to State an Offense (Docket No. 39, hereinafter “Def. Mot.”). For reasons stated below,

the government submits that the motion should be denied.

                                  FACTUAL BACKGROUND

               The defendant is charged in a one-count indictment with making a materially false

statement to an FBI official, in violation of Title 18, United States Code, Section 1001. As set forth

in the Indictment, on September 19, 2016 – less than two months before the 2016 U.S. Presidential

election – the defendant, a lawyer at a large international law firm (“Law Firm-1”) that was then

serving as counsel to the Clinton Campaign, met with the FBI General Counsel at FBI Headquarters

in Washington, D.C. The defendant provided the FBI General Counsel with purported data and

“white papers” that allegedly demonstrated a covert communications channel between the Trump

Organization and a Russia-based bank (“Russian Bank-1”). The Indictment alleges that the

defendant lied in that meeting, falsely stating to the General Counsel that he was not providing the
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allegations to the FBI on behalf of any client. In fact, the defendant had assembled and conveyed

the allegations to the FBI on behalf of at least two specific clients, including (i) a technology

executive (“Tech Executive-1”) at a U.S.-based Internet company (“Internet Company-1”), and

(ii) the Clinton Campaign.

               The defendant’s billing records reflect that the defendant repeatedly billed the

Clinton Campaign for his work on the Russian Bank-1 allegations. In compiling and disseminating

these allegations, the defendant and Tech Executive-1 also had met and communicated with another

law partner at Law Firm-1 who was then serving as General Counsel to the Clinton Campaign

(“Campaign Lawyer-1”).

               The Indictment also alleges that, beginning in approximately July 2016, Tech

Executive-1 had worked with the defendant, a U.S. investigative firm retained by Law Firm-1 on

behalf of the Clinton Campaign, numerous cyber researchers, and employees at multiple Internet

companies to assemble the purported data and white papers. In connection with these efforts, Tech

Executive-1 exploited his access to non-public and/or proprietary Internet data. Tech Executive-1

also enlisted the assistance of researchers at a U.S.-based university who were receiving and

analyzing large amounts of Internet data in connection with a pending federal government

cybersecurity research contract. Tech Executive-1 tasked these researchers to mine Internet data to

establish “an inference” and “narrative” tying then-candidate Trump to Russia. In doing so, Tech

Executive-1 indicated that he was seeking to please certain “VIPs,” referring to individuals at Law

Firm-1 and the Clinton Campaign.

               The Government’s evidence at trial will also establish that among the Internet data

Tech Executive-1 and his associates exploited was domain name system (“DNS”) Internet traffic
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pertaining to (i) a particular healthcare provider, (ii) Trump Tower, (iii) Donald Trump’s Central

Park West apartment building, and (iv) the Executive Office of the President of the United States

(“EOP”).

                The Indictment further details that on February 9, 2017, the defendant provided an

updated set of allegations – including the Russian Bank-1 data and additional allegations relating

to Trump – to a second agency of the U.S. government (“Agency-2”). The Government’s evidence

at trial will establish that these additional allegations relied, in part, on the purported DNS traffic

that Tech Executive-1 and others had assembled pertaining to Trump Tower, Donald Trump’s New

York City apartment building, the EOP, and the aforementioned healthcare provider. In his meeting

with Agency-2, the defendant provided data which he claimed reflected purportedly suspicious

DNS lookups by these entities of internet protocol (“IP”) addresses affiliated with a Russian mobile

phone provider (“Russian Phone Provider-1”). The defendant further claimed that these lookups

demonstrated that Trump and/or his associates were using a type of Russian-made wireless phone

in the vicinity of the White House and other locations.

                In his meeting with Agency-2 employees, the defendant also made a substantially

similar false statement as he had made to the FBI General Counsel. In particular, the defendant

asserted that he was not representing a particular client in conveying the above allegations. In truth

and in fact, the defendant was continuing to represent Tech Executive-11 – a fact the defendant

subsequently acknowledged under oath in December 2017 testimony before Congress (without

identifying the client by name).



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           By February 9, 2017, the Clinton Campaign for all intents and purposes no longer existed.
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                                       LEGAL STANDARD

               Federal Rule of Criminal Procedure 12 permits a motion to dismiss the indictment

based on “a defect in the indictment or information, including . . . failure to state an offense.” Fed.

R. Crim. P. 12(b)(3)(B)(v). In ruling on a motion to dismiss, the court must assume the truth of the

indictment’s factual allegations. United States v. Knowles, 197 F. Supp. 3d 143, 149 (D.D.C. 2016).

To sufficiently state an offense, an indictment need only “inform the defendant of the nature of the

accusation against him.” United States v. Hitt, 249 F.3d 1010, 1016 (D.C. Cir. 2001). An

indictment must “first, contain[] the elements of the offense charged and fairly inform[] a defendant

of the charge against which he must defend, and, second, enable[] him to plead an acquittal or

conviction in bar of future prosecutions for the same offense.” Hamling v. United States, 418 U.S.

87, 117 (1974). “[A] pretrial motion to dismiss an indictment allows a district court to review the

sufficiency of the government's pleadings, but it is not a permissible vehicle for addressing the

sufficiency of the government's evidence.” United States v. Mosquera-Murillo, 153 F. Supp. 3d

130, 154 (D.D.C. 2015) (internal citation and quotation marks omitted). As such, a dismissal of an

indictment “is granted only in unusual circumstances” because a court’s supervisory power to

dismiss an indictment “directly encroaches upon the fundamental role of the grand jury.” United

States v. Ballestas, 795 F.3d 138, 148 (D.C. Cir. 2015).

                                           ARGUMENT

               The defendant moves to dismiss the sole count of the Indictment on the grounds that

his alleged false statement to the FBI General Counsel is immaterial as matter of law, and thus runs

afoul of 18 U.S.C. § 1001(a)(2)’s dictate that only “materially false fictitious, or fraudulent



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statement[s] or representation[s]” be criminalized. See Def. Mot. at 5. This argument is without

merit.

               A.      The Indictment Sufficiently Alleges that the Defendant’s False
                       Statement Was Material

               Although Section 1001 does not define “materially,” the Supreme Court has held

that a materially false statement has “a natural tendency to influence, or [be] capable of influencing,

the decision of the decision-making body to which it was addressed.” Kungys v. United States, 485

U.S. 759, 770 (1988). However, as the Supreme Court explained in United States v. Gaudin, a

statement need not actually influence an agency for it to be material; it need only have “a natural

tendency to influence, or [be] capable of influencing” an agency function or decision. 515 U.S.

506, 509 (1995). “Proof of actual reliance on the statement is not required; the Government need

only make a reasonable showing of its potential effects.” United States v. Hansen, 772 F.2d 940,

949 (D.C. Circuit 1985).

               Distilled to its core, the defendant’s argument is as follows: At the time of the

defendant’s alleged false statement, the only “discrete decision” to be made by the FBI was whether

to initiate an investigation based on the information provided by the defendant. The defendant

further claims that because his alleged false statement dealt only with his “purported motivation”

for bringing the information to the FBI – as opposed to the substance of the information – the false

statement could not have influenced the FBI’s decision whether to initiate an investigation. See

Def. Mot. at 15-16. Defendant appears to argue that materiality should only be viewed through the

lens of a specific agency decision at a discrete moment in time; in this case, whether the defendant’s

information was material to the FBI’s decision to initiate an investigation.


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                But courts have not construed the materiality element so narrowly. To the contrary,

a false statement is material if it has “a natural tendency to influence or is capable of influencing,

either a discrete decision or any other function of the agency to which it was addressed.” United

States v. Moore, 612 F.3d 698, 701–02 (D.C. Cir. 2010) (emphasis added). In Moore, the D.C.

Circuit joined its sister circuits in recognizing that a false statement is material if it has the capability

to influence a “discrete decision” or “any other function of the agency.” See, e.g., United States v.

Alemany Rivera, 781 F.2d 229, 235 (1st Cir. 1985) (“test for materiality under 18 U.S.C. § 1001 is

. . . whether [the statement] had the capacity to influence a government function”); United States

v. Lichenstein, 610 F.2d 1272, 1278 (5th Cir. 1980) (“false statement must simply have the capacity

to impair or pervert the functioning of a government agency”); United States v. White, 270 F.3d

356, 365 (6th Cir. 2001) (“‘materiality’ is a fairly low bar . . . . [T]he government must present at

least some evidence showing how the false statement in question was capable of influencing federal

functioning.”); United States v. Moore, 446 F.3d 671, 681 (7th Cir. 2006) (statement is material if

it “has a natural tendency to influence, or . . . is capable of affecting, a government

function”); United States v. Calhoon, 97 F.3d 518, 530 (11th Cir. 1996) (“it is enough if the

statements had a natural tendency to influence [ ] or [were] capable of affecting or influencing a

government function”) (internal quotation marks deleted). Accordingly, the materiality of a

defendant’s false statement survives long past the initiation of an investigation and encompasses

the means and methods of an investigation. As discussed more fully below, and as set forth in the

Indictment, the defendant’s false statement was capable of influencing both the FBI’s decision to

initiate an investigation and its subsequent conduct of that investigation.



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               In any event, the defendant’s arguments on the materiality of his statement are also

premature. The Supreme Court in Gaudin held that materiality is an essential element of Section

1001 that must be resolved by a jury. Gaudin, 515 U.S. at 512. As Judge Sporkin reiterated in

United States v. Cisneros:

               [T]he Supreme Court has held that materiality is an element
               of § 1001 that must be determined by the jury. Deciding whether or
               not a statement is material “requires the determination of at least two
               subsidiary questions of purely historical fact: (a) ‘what statement
               was made?’; and (b) ‘what decision was the agency trying to
               make?’. The ultimate question: (c) ‘whether the statement
               was material to the decision,’ requires applying the legal standard
               of materiality ... to these historical facts.” [The defendant] asserts
               that while the jury is entitled to determine (a) and (b), (c) should be
               decided by the judge as a matter of law. However, the Gaudin Court
               explicitly rejected this argument by holding that (c) is a “mixed
               question of law and fact” that must be given to the jury to decide.

               Despite Gaudin, [the defendant] insists that the Court should resolve
               the element of materiality as a matter of law “if no reasonable juror
               could find an alleged falsehood material in light of undisputed
               evidence of its immateriality.” At this stage of the proceedings,
               before the Government has had the opportunity to present its
               evidence at trial, the Court cannot determine whether or not the
               Government’s case is sufficient to go to a jury. The proper time for
               [the defendant] to raise this claim is at trial.

26 F. Supp. 2d 24, 40-41 (D.D.C. 1998) (internal citations omitted).

               The defendant cites to multiple cases where the Supreme Court and Circuit Courts

have held that the false statements and misrepresentations at issue were immaterial as a matter of

law. See Def. Mot. at 7-10. But critically, all of those cases involved post-conviction appeals or

motions to vacate the conviction after the Government presented its case at trial. Accordingly, none

of these cases support the defendant’s requested relief here – that is, that the court dismiss the

Indictment before trial because it fails to sufficiently allege that the defendant’s false statement is
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material. What the cases do show is that courts have routinely declined to usurp the jury’s role in

making the determination on whether a false statement is material. See, e.g. United States v.

Johnson, 19 F.4th 248, 252 (3d Cir. 2021).

               Even so, the cases cited by the defendant are clearly distinguishable. For example,

in United States v. Camick, the Tenth Circuit reversed a Section 1001 conviction upon finding that

the statements at issue were not material because the relevant government decision-making body,

the Patent and Trademark Office (“PTO”), never saw or reviewed the filing which contained them.

796 F.3d 1206, 1218 (10th Cir. 2015). As a result, the false statements were immaterial because it

was impossible for any decision by the PTO to be affected. Id. In the Second Circuit’s decision in

United States v. Litvak, the court likewise reversed a jury trial conviction for false statements

because the defendant’s misstatements in residential mortgage-backed securities transactions were

not capable of influencing any decisions of the U.S. Treasury. 808 F.3d 160, 172 (2d Cir. 2015).

And in United States v. Naserkhaki, the court there held that one of two false statements contained

in a defendant’s application for refugee travel documents was immaterial because it related “to an

ancillary, non-determinative fact,” specifically, the fact that the defendant had failed to inform the

agency that he had submitted a prior application for the travel documents. 722 F. Supp. 242, 248

(E.D. Va. 1989).2 In contrast, the defendant made his false statement directly to the FBI General

Counsel on a matter that was anything but ancillary: namely, the existence vel non of attorney-client

relationships that would have shed critical light on the origins of the allegations at issue.


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           In Naserkhaki, after concluding that only one of the two misrepresentations was material,
the district court ordered a new trial because the jury’s verdict did not separately address each false
statement. In Griffin v. United States, 502 U.S. 46, 54-57 (1991), the Supreme Court abrogated the
Naserkhaki decision. See United States v. Dedman, 527 F.3d 577, 599 (6th Cir. 2008).
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               B.      The Defendant’s False Statement was Material to the FBI’s Initiation of
                       the Investigation

               The defendant’s false statement to the FBI General Counsel was plainly material

because it misled the General Counsel about, among other things, the critical fact that the defendant

was disseminating highly explosive allegations about a then-Presidential candidate on behalf of two

specific clients, one of which was the opposing Presidential campaign. The defendant’s efforts to

mislead the FBI in this manner during the height of a Presidential election season plainly could

have influenced the FBI’s decision-making in any number of ways. The defendant’s core argument

to the contrary rests on the flawed premise that the FBI’s only relevant decision was binary in

nature, i.e., whether or not to initiate an investigation. But defendant’s assertion in this regard

conveniently ignores the factual and practical realities of how the FBI initiates and conducts

investigations. For example, the Government expects that evidence at trial will prove that the FBI

could have taken any number of steps prior to opening what it terms a “full investigation,”

including, but not limited to, conducting an “assessment,” opening a “preliminary investigation,”

delaying a decision until after the election, or declining to investigate the matter altogether. Indeed,

a host of factors play into the FBI’s decision of whether and how to initiate an investigation, which

include, among others, the source and origins of the information. Here, had the defendant truthfully

informed the FBI General Counsel that he was providing the information on behalf of one or more

clients, as opposed to merely acting as a “good citizen,” the FBI General Counsel and other FBI

personnel might have asked a multitude of additional questions material to the case initiation

process. They might have asked, for example, whether the defendant’s clients harbored any

political biases or business motives that might cast doubt on the reliability of the information. And


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they also likely would have conducted additional, behind-the-scenes steps (database checks, case

file searches, etc.) to assess the defendant’s potential motivations and those of his clients. Indeed,

it is obvious that a lawyer presenting himself as a paid advocate for a client naturally raises specific

concerns related to bias, motivation, and the reliability of the information being provided.

               Moreover, the Department of Justice and the FBI maintain stringent guidelines on

dealing with matters that bear on U.S. elections. Given the temporal proximity to the 2016 U.S.

presidential election, the FBI also might have taken any number of different steps in initiating,

delaying, or declining the initiation of this matter had it known at the time that the defendant was

providing information on behalf of the Clinton Campaign and a technology executive at a private

company.

               Accordingly, and contrary to the defendant’s argument that a tipster’s “motivation”

is insignificant and “ancillary” (Def. Mot. at 15), the evidence at trial will demonstrate that a

person’s motivation in providing information to the FBI can be a highly material fact in determining

whether and how the FBI opens an investigation and then conducts an investigation it has opened.

And the evidence will show that it would have been all the more material here because the defendant

was providing this information on behalf of the Clinton Campaign less than two months prior to a

hotly contested U.S. presidential election.       In sum, the evidence will demonstrate that the

defendant’s false statement to the FBI General Counsel had the capacity to influence the lawful

function of the FBI as it related to the case initiation phase.




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               C.      The Defendant’s False Statement was Material to the FBI’s Conduct of
                       the Investigation

               The evidence at trial will also establish that the defendant’s false statement had the

capacity to influence the FBI’s conduct of this investigation. For example, had the defendant

truthfully disclosed the fact that he represented Tech Executive-1, the FBI likely would have asked

certain questions and conducted interviews during the investigation that would bear directly upon

the information’s reliability and/or Tech Executive-1’s motivation in providing the information.

Namely, as the defendant’s motion reveals (Def. Mot. at 18-19, fn. 8), Tech Executive-1 had a

history of providing assistance to the FBI on cyber security matters, but decided in this instance to

provide politically-charged allegations anonymously through the defendant and a law firm that was

then-counsel to the Clinton Campaign. Given Tech Executive-1’s history of assistance to law

enforcement, it would be material for the FBI to learn of the defendant’s lawyer-client relationship

with Tech Executive-1 so that they could evaluate Tech Executive-1’s motivations. As an initial

step, the FBI might have sought to interview Tech Executive-1. And that, in turn, might have

revealed further information about Tech Executive-1’s coordination with individuals tied to the

Clinton Campaign, his access to vast amounts of sensitive and/or proprietary internet data, and his

tasking of cyber researchers working on a pending federal cybersecurity contract.

               Moreover, had the FBI known that the defendant was presenting the information on

behalf of even an anonymous client, rather than purporting to provide the information as a

concerned citizen, they also likely would have been able to more fully investigate the genesis of the

aforementioned white papers, including the role of the defendant and others in obtaining, drafting,

and compiling the analysis of the data.


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               In an effort to downplay the materiality of this false statement, the defendant asserts

that the FBI General Counsel was aware that the defendant represented the DNC. See Def. Mot at

18. But the Government expects that evidence at trial will establish that the FBI General Counsel

was aware that the defendant represented the DNC on cybersecurity matters arising from the

Russian government’s hack of its emails, not that he provided political advice or was participating

in the Clinton Campaign’s opposition research efforts. Indeed, the defendant held himself out to

the public as an experienced national security and cybersecurity lawyer, not an election lawyer or

political consultant. Accordingly, when the defendant disclaimed any client relationships at his

meeting with the FBI General Counsel, this served to lull the General Counsel into the mistaken,

yet highly material belief that the defendant lacked political motivations for his work.

               In any event, even if FBI personnel had been aware of the defendant’s relationship

specifically to Democratic politics, it would be of no moment. It is black letter law that materiality

does not turn on the actual knowledge of investigators at the time of the false statement. Indeed, as

Justice Scalia stated in Brogan v. United States:

               It could be argued, perhaps, that a disbelieved falsehood does not
               pervert an investigation. But making the existence of this crime turn
               upon the credulousness of the federal investigator (or the
               persuasiveness of the liar) would be exceedingly strange; such a
               defense to the analogous crime of perjury is certainly unheard of.

522 U.S. 398, 402 (1998). In fact, a statement can be material even if the decision-maker has

already arrived at a conclusion before the statement is made. See United States v. Safavian, 649

F.3d 688 (D.C. Cir. 2011); see also Moore, 612 F.3d at 701-702. To that end, “[w]hen statements

are aimed at misdirecting agents and their investigation, even if they miss spectacularly or stand



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absolutely no chance of succeeding, they satisfy the materiality requirement of [Section] 1001.”

United States v. Lupton, 620 F.3d 790, 806-807 (7th Cir. 2010).

               The defendant’s focus on the discovery in this case only further demonstrates the

need for this element to be decided by a jury. See, e.g., Def. Mot. at 19. These issues are highly

fact-laden. Indeed, the expected testimony of multiple government witnesses will refute the

defendant’s argument that the defendant’s false statement was immaterial. As noted above, the

government expects that current and former FBI employees will testify at trial that understanding

the origins of data and information is relevant to the FBI in multiple ways, including to assess the

reliability and motivations of the source. None of this is novel. An evaluation of a source can (and

often does) influence the FBI’s decisions regarding its initial opening decisions and subsequent

investigative steps. That alone is sufficient to establish materiality.

               D.      The Defendant’s False Statement does not Raise Constitutional
                       Concerns

               Finally, the defendant argues that the government’s theory of materiality raises

serious constitutional concerns which risks “overcriminalization, chill[s] valuable First Amendment

speech, and intrude[s] legal advocacy and lawyer-client relationships.” Def. Mot. at 21.

               First, the defendant’s assertion that the government’s theory of materiality amounts

to prosecutorial overreach is wrong. The application of the materiality standard to the defendant’s

conduct is straightforward here. The defendant claimed that he was not acting on behalf of any

clients when, in fact, he hid his relationship with clients who harbored political and business

interests tied to allegations against a then-Presidential candidate. And he made this false statement

to the FBI as it carried out its functions of receiving and investigating national security threats. The


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defendant’s false statement thus plainly could “adversely affect” the FBI in its ability to perform

this important function. United States v. Hansen, 772 F.2d 940, 949 (D.C. Cir. 1985). That is all

that is required under Section 1001. Ultimately, the charges here are neither novel nor do they

“stretch the scope of criminal liability” under Section 1001, and the defendant’s inflated concerns

about overreach and overcriminalization should be rejected.

               Second, the defendant is mistaken that the prosecution of the defendant for false

statements in this case would result in chilling protected speech. In support, the defendant primarily

relies on the Supreme Court’s decision in United States v. Alvarez, which held that false statements

are not categorically unprotected by the First Amendment. 567 U.S. 709, 722 (Kennedy, J.)

(plurality opinion); id. at 733 (Breyer, J. concurring in the judgment). As Justice Breyer explained,

the government has little interest in policing a harmless untruth that we tell to “provide the sick

with comfort, or preserve a child’s innocence.” Id. at 733. But the Court stopped well short of

protecting lying generally. Indeed, as Justice Kennedy noted “there are instances in which the

falsity of speech bears upon whether it is protected.” Id. at 721 (plurality opinion).

               Section 1001, however, does not police harmless untruths or “white lies.” Instead,

it targets materially false statements to government agencies, which courts across the country and

the Supreme Court in Alvarez have held is not protected speech. False statements under Section

1001 merit no First Amendment protection because the statute is necessary “to protect agencies

from the perversion which might result from [] deceptive practices.” Alvarez, 567 U.S. at 748

(Alito, J. dissenting) (quoting United States v. Gilliland, 312 U.S. 86, 93 (1941) (quotation marks

omitted)). Indeed, this statute (and those like it) only criminalizes those false statements and lies

that are particularly likely to produce harm. And while the defendant’s motion seeks to equate the
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defendant with a “jilted ex-wife [who] would think twice about reporting her ex-husband’s

extensive gun-smuggling operation,” this comparison is absurd. Def. Mot. at 24. Far from finding

himself in the vulnerable position of an ordinary person whose speech is likely to be chilled, the

defendant – a sophisticated and well-connected lawyer – chose to bring politically-charged

allegations to the FBI’s chief legal officer at the height of an election season. He then chose to lie

about the clients who were behind those allegations. Using such rare access to the halls of power

for the purposes of political deceit is hardly the type of speech that the Founders intended to protect.

The Court should therefore reject defendant’s invitation to expand the scope of the First

Amendment to protect such conduct.

               Third, the defendant’s assertion that the charges in this case will somehow imperil

communications between lawyers and the government is also fanciful. As a former government

attorney and prosecutor, the defendant was well aware that the law required him to be honest and

forthright when communicating with the FBI. Despite that knowledge, the defendant chose to

conceal from the FBI that he was acting as a paid advocate for clients with political and business

agendas. This false statement deprived the FBI of critical information that might have permitted it

to better allocate its resources, make critical decisions regarding the opening or conduct of the

investigation, and examine the origins of the purported data. That lawyers should be honest in their

dealings with federal law enforcement agencies is not an imposition that the Constitution prohibits.

It is an expectation that undergirds the integrity of our legal system. Accordingly, nothing about

this case should create fear of criminal liability for lawyers in their routine interactions with

government lawyers. The essential element of materiality in Section 1001 cases guards against this

concern. Under the law, only materially false statements that could influence a government
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agency’s decision or functions rise to the level worthy of criminal prosecution. Such is the case

here.

                                        CONCLUSION

        For the foregoing reasons, the Court should deny the defendant’s Motion to Dismiss the

Indictment.


                                            Respectfully submitted,

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